Case 1:03-cV-01226-.]DB-tmp Document 34 Filed 07/08/05 Page 1 of 3 Page|D 67

/`9//>~
UNITED STA TES DISTRICT COURT §5`/ d {§// %
WESTERN DISTRICT 0F TENNESSEE § ,%

 

 

‘/ / /O f :Vl /
EASTERNDIVISION , `,.1 , j "»',Q/
\.,. ,-~]g " /</J' ' d
“/`/\ (/Ls’éi /<z~\ ’(““
V’~ /Cq(.//;,:Q)`g// ",»
BILLIE I). MC KINNIE, JUDGMENT IN A CI)>TL CASE
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:03-1226-B

0F AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
I)ismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed With prejudice.

 

 

NIEL HREEN \
TED sTATEs DISTRICT COURT

(.J@o<

  
   
 

moMAs M. eoum

Clerk of Court

,-'/5` 1 :; § §

(By) l)eputy Clerk

ThIs document entered on the docket sheet ln compfiance

wah sure 53 and,'or_re (a} FF:oP on _Q?_-L/_-_Qi__

 

ESTRNE 1

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01226 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

W. Gaston Fairey

FAIREY PARISE & 1\/HLLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

.1 oseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Terry Williams

WILLIAMS LAW OFFICE
250 E. Wisconsin Ave.
Milwaukee, WI 53202--423

.1 ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Case 1:03-cV-01226-.]DB-tmp Document 34 Filed 07/08/05 Page 3 of 3 Page|D 69

Honorable .1. Breen
US DISTRICT COURT

